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                            UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT COURT OF MASSACHUSETTS

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                        Plaintiff         )
v.                                        )                    CASE NO. 19cr10078-1-RWZ
                                          )
 William Rick Singer,                     )
                                          )
                        Defendant.        )
__________________________________________)

           ASSENTED MOTION TO ADD THE DISTRICT OF ARIZONA TO
        DISTRICTS THE DEFENDANT MAY TRAVEL WITHOUT ADDITIONAL
                             COURT ORDER


        Defendant William Rick Singer hereby respectfully moves the Court to add the District

of Arizona to the Districts the defendant may travel without additional court order.

         Mr. Singer is enrolled at Grand Canyon University’s PhD program in Psychology which

is located Phoenix, Arizona. The program is attended over the internet and to date Mr. Singer

has successfully completed five classes. The Program consists of 20 classes and includes a

dissertation. A requirement of the program is attending 3 residency's in person prior to achieving

his PhD and possibly other in person meetings. Mr. Singer has written the first 15 pages of his

dissertation and completed the Topic Approval, Problem and Purpose Statements required by his

program. Mr. Singer has maintained a B average for his first four classes and has received an A

in his fifth class.

        Mr. Singer’s Pretrial Services Officer (U.S. Probation/Pretrial Services Central District of

California, Orange County Division), has consented to the first proposed trip to Arizona for a

Residency meeting. Mr. Singer is aware that all departures from his district of residence,



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currently the Central District of California requires the pre-approval of the Pretrial Services

Officer supervising Mr. Singer. Mr. Singer has been since his arraignment and pleas of Guilty on

March 12, 2019, has been fully compliant with his conditions of release. Assistant U.S. Attorney

Eric Rosen has assented to this motion and the adding of the District of Arizona to the approved

districts the defendant may travel without further court order.



         WHEREFORE, the undersigned counsel respectfully moves that this motion be granted

so as to enable the defendant to travel to and from the District of Arizona, by adding the District

of Arizona to the listed permitted travel states, subject to the defendant obtaining pre-approval

for said travel from the U.S. Pretrial Services Officer currently supervising defendant at the time

of the defendant’s proposed travel.

                                                      Respectfully submitted,

                                                      /s/ Donald H. Heller

                                                       Donald H. Heller, Esquire
                                                       Donald H. Heller, A Law Corporation
                                                       Admitted Pro Hoc Vice
                                                       Attorney for Defendant
                                                       William Rick Singer




Approved.

Dated:
                                                      United States District Judge




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                                CERTIFICATE OF SERVICE

       I, Donald H. Heller, hereby certify that on July 16, 2020, that this document was filed

through the CM/ECF system and will be sent electronically to all registered participants in this

matter as identified on the Notice of Electronic Filing (NEF).


                                             /s/ Donald H. Heller
                                             DONALD H. HELLER




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